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December 12, 2017


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Re:    Waymo LLC v. Uber Technologies, Inc. et al., Case No. 3:17-cv-00939

Dear Magistrate Judge Corley:

Attached is Uber’s letter brief for tomorrow’s 2:00 telephonic hearing.

Respectfully submitted,



Arturo J. González




             UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




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                             The letters refer to the details of these discussions, including
references to specific pending cases (but not the litigation with Waymo) and discussions between
Uber and outside counsel. This is classic attorney-client communication as well as attorney work
product.

        Waymo similarly complains that Uber did not produce the mediation statements provided
by either Uber or the terminated attorneys in the course of mediating their claims, but these are
also protected communications. California Evidence Code §1119(b) provides that:

               No writing, as defined in Section 250, that is prepared for the
               purpose of, in the course of, or pursuant to, a mediation or a
               mediation consultation, is admissible or subject to discovery, and
               disclosure of the writing shall not be compelled, in any arbitration,
               administrative adjudication, civil action, or other noncriminal
               proceeding in which, pursuant to law, testimony can be compelled to
               be given.

The same policy applies in federal courts. See Folb v. Motion Picture Indus. Pension & Health
Plans, 16 F. Supp. 2d 1164, 1180 (C.D. Cal. 1998), aff’d, 216 F.3d 1082 (9th Cir. 2000)
(“communications to the mediator and . . . between parties during the mediation are protected”).

       Waymo does not argue that the communications are not privileged. Instead, Waymo relies
on a passing comment about the terminations in an email written by Jill Hazelbaker, an executive
on Uber’s communications staff who was not involved in the terminations. Waymo ignores the
response from Salle Yoo, Uber’s former Chief Legal Officer, pointing out that the terminated
attorneys did not provide outside counsel with the full facts. More importantly for purposes of this
motion, even if Waymo’s speculation about the terminations were true, that would not overrule the
applicable privileges.

2. Special Matters Committee (“SMC”) Documents: First, this issue is moot. This week,
counsel for the SMC at Cooley and Shearman will be producing responsive, non-privileged
documents. The three SMC members will also produce responsive, non-privileged documents
pursuant to subpoenas served today—as discussed with the Special Master yesterday.

        Second, any delay in producing such documents is entirely of Waymo’s making. For
example, Waymo’s original document requests were marked “Attorneys’ Eyes Only,” preventing
Uber from showing them to the SMC and its counsel. Waymo never responded to Uber’s request
to de-designate the document requests. As another example, last Tuesday, Uber’s counsel called
Waymo’s counsel to meet and confer about the scope of discovery for SMC documents outside of
Uber’s custody and control. Waymo’s counsel never returned the call. Last Wednesday, Uber
raised the issue on the meet and confer with the Special Master. Waymo apologized for not
returning the call and promised to do so the next day. Last Thursday, the parties met and
conferred and reached a tentative agreement. The parties could not reach a final agreement
because counsel for Waymo represented that he did not have authority to do so. Last Friday, a
different counsel for Waymo reached an agreement with Uber on the scope of the searches to be
run by counsel for the SMC, subject to some testing. Over the weekend, counsel for Uber emailed



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counsel for Waymo twice seeking clarification. Waymo never responded to these emails. Then,
very late Sunday night, Waymo began issuing new demands on the scope of the searches. Today,
the parties engaged in further meet and confers by email and the members of the SMC will attempt
to produce documents from the searches agreed upon.

        Third, these productions are occurring despite the fact that these requests to Uber’s board
members being pure harassment. As explained to Waymo, the nature of the SMC means that
these documents will be privileged. Despite this, Waymo demands that the SMC engage in a
costly and burdensome logging process. Nonetheless, the SMC and its members have agreed to
do so and on an expedited basis, to the extent possible within the very short time frame allowed in
the supplemental discovery period.

3. Issues with specific RFPs: Uber did not impose improper limitations on the scope of
production in response to these RFPs. Uber reasonably—and necessarily—tailored its responses
and commitment to produce documents based on: (1) the Court’s December 1, 2017 Order and
(2) the extraordinarily expedited schedule for production set by the Special Master. Waymo
served its forty RFPs at 10:55 p.m. on Thursday, November 30. On December 5, 2017, just three
business days later, the Special Master directed Uber to complete its production by December 8,
just three business days later. Uber devoted all available resources to its review and production
efforts. Given the expedited schedule and hefty discovery demands, Uber’s efforts to tailor
Waymo’s broad requests to issues that are relevant to this litigation were not just reasonable, they
were also necessary.

RFPs 5-8 seek “all documents” regarding Uber’s investigation into the Jacobs Letter,
communications with Jacobs or any employee about any issues described in the letter, and
Jacobs’s separation from Uber. Uber responded that it would produce responsive, non-privileged
documents to the extent that they exist and “pertain to the allegations in the Jacobs Letter
regarding use of non-attributable devices, ephemeral communications, Waymo’s trade secrets or
other confidential information, the Uber-Otto acquisition, Uber’s document retention policies, and
the use of attorney client and work product privileges.” Uber’s response is consistent with the
Court’s order granting additional discovery as it pertains to the topics in the letter. (Dkt. 2315 at
1:27-2:21 (authorizing discovery into use of non-attributable devices, ephemeral communications,
alleged contrived claims of privilege and other inquiries specific to relevant issues raised in the
email or letter).) In meeting and conferring, Waymo identified no other relevant category from the
letter, stating only that it is entitled to “general competitive intelligence gathering.” That topic is
already covered by RFPs 1 and 28.

RFPs 12, 15, and 19-20 seek “all documents” regarding the use by any Uber employee of
“anonymous servers” or virtual machines that wipe clean. Uber agreed to produce any responsive,
non-privileged documents for personnel in Uber ATG, Marketplace Analytics, or Strategic
Services Group—these groups include Uber’s AV group and the units primarily implicated by the
Jacobs Letter. That is sufficient.

RFP 36 seeks “all documents” regarding the creation, purpose, branding, and rebranding of Threat
Operations, SSG, SI, and MA. Uber agreed to produce documents “sufficient to show.” That is
eminently reasonable in light of the expedited schedule.


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